Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 1 of 13 PageID #: 182




                      Exhibit F
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 2 of 13 PageID #: 183
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 3 of 13 PageID #: 184
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 4 of 13 PageID #: 185
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 5 of 13 PageID #: 186
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 6 of 13 PageID #: 187
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 7 of 13 PageID #: 188
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 8 of 13 PageID #: 189
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 9 of 13 PageID #: 190
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 10 of 13 PageID #: 191
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 11 of 13 PageID #: 192
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 12 of 13 PageID #: 193
Case 1:22-cv-01353-UNA Document 1-6 Filed 10/13/22 Page 13 of 13 PageID #: 194
